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                 UNITED STATES DISTRICT COURT
                MIDDLE DISTRICT OF PENNSYLVANIA

UNITED STATES OF AMERICA                :     No. 1:18-CR-00048
                                        :
           v.                           :     (Judge Wilson)
                                        :
CHARLES NOLDEN,                         :
       Defendant.                       :     (Electronically Filed)

    GOVERNMENT’S RESPONSE TO DEFENDANT’S MOTION
TO REDUCE SENTENCE PURSUANT TO 18 U.S.C. § 3582(C)(1)(A)(I)

     Defendant, Charles Nolden, filed a motion asking this Court to

reduce his sentence of imprisonment under 18 U.S.C. § 3582(c)(1)(A)

due to the threat posed by the COVID- 19 pandemic coupled with his

medical conditions. This Court should deny the motion because Nolden

has failed to demonstrate extraordinary and compelling reasons for his

request. Further, the 18 U.S.C. §3553(a) factors demand his continued

incarceration. For these reasons, Nolden’s motion should be denied.

                          Factual Background

     On February 14, 2018, a six-count Indictment was filed charging

Charles Nolden as follows: Distribution of Heroin, in violation of 21

U.S.C. § 841(a)(1) (Count 1); Felon in Possession of a Firearm, in

violation of 18 U.S.C. § 922(g)(1) (Count 2); Possession of a
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Machinegun, in violation of 18 U.S.C. § 922(o) (Count 3); Possession of

an Unregistered Firearm, in violation of 26 U.S.C. § 5861(d) (Count 4);

Distribution and Possession with Intent to Distribute Heroin, in

violation of 21 U.S.C. § 841(a)(1) (Count 5); and Possession of a

Machinegun in Furtherance of Drug Trafficking, in violation of 18

U.S.C. §924(c) (Count 6).

     On February 16, 2021, Nolden pled guilty, in accordance with a

written plea agreement, to a two count superseding information which

charged him with possession of a firearm by a felon, in violation of 18

U.S.C. § 922(g)(1) and possession of a firearm in furtherance of drug

trafficking in violation of 18 U.S.C. § 924(c). The plea agreement was

entered, pursuant to Rule of Criminal Procedure 11(c)(1)(C) in which

the parties agreed that the defendant be sentenced to 14 years

imprisonment, a three year term of supervised release, a $500 fine, and

a $200 special assessment. (Doc. 90) On October 28, 2021, the Court

sentenced Nolden in accordance with the plea agreement. (Doc. 120)

     On May 3, 2022, Nolden filed a pro se motion seeking

compassionate release pursuant to 18 U.S.C. § 3582(c)(1)(A). (Doc. 124)

The Government now responds.



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 I.   Nolden’s Request for a Sentence Reduction.

      Nolden is incarcerated at FCI Allenwood (Medium) with a

projected release date of April 11, 2031. As of May 17, 2022, FCI

Allenwood (Medium) had no inmates or staff members who have

COVID-19. Federal Bureau of Prisons, COVID-19 Cases, at

https://www.bop.gov/coronavirus/. On March 28, 2022, Nolden

submitted a request for “Compassionate Release or Early Home

Confinement” to staff at FCI Allenwood (Medium). On April 15, 2022,

the warden denied his request noting that Nolden does not meet the

criteria for compassionate release.

      In Nolden’s Motion for Compassionate Release, Nolden claims he

suffers from atrial fibrillation and pulmonary fibrosis. (Doc. 124, 1-2)

Nolden states that he is currently prescribed Flecainide and Metoprolol.

(Id., 1, and 4) Nolden also claims that he was rushed to the hospital on

April 4, 2022 due to complications with his heart and that the medical

staff at FCI Allenwood (Medium) cannot provide him with proper

medical care. (Id., 5)




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                            Legal Framework

     Under 18 U.S.C. § 3582(c)(1)(A), this Court may, in certain

circumstances, grant a defendant’s motion to reduce his or her term of

imprisonment. Before filing that motion, however, the defendant must

first request that BOP file such a motion on his or her behalf.

§ 3582(c)(1)(A). A court may grant the defendant’s own motion for a

reduction in his sentence only if the motion was filed “after the

defendant has fully exhausted all administrative rights to appeal a

failure of the Bureau of Prisons to bring a motion on the defendant’s

behalf” or after 30 days have passed “from the receipt of such a request

by the warden of the defendant’s facility, whichever is earlier.” Id.

     If that exhaustion requirement is met, a court may reduce the

defendant’s term of imprisonment “after considering the factors set

forth in [18 U.S.C. § 3553(a)]” if the Court finds, as relevant here, that

(i) “extraordinary and compelling reasons warrant such a reduction”

and (ii) “such a reduction is consistent with applicable policy statements

issued by the Sentencing Commission.” § 3582(c)(1)(A)(i). As the

movant, the defendant bears the burden to establish that he or she is

eligible for a sentence reduction. United States v. Jones, 836 F.3d 896,



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899 (8th Cir. 2016); United States v. Green, 764 F.3d 1352, 1356 (11th

Cir. 2014).

        The Sentencing Commission has issued a policy statement

addressing reduction of sentences under § 3582(c)(1)(A). As relevant

here, the policy statement provides that a court may reduce the term of

imprisonment after considering the § 3553(a) factors if the Court finds

that (i) “extraordinary and compelling reasons warrant the reduction;”

(ii) “the defendant is not a danger to the safety of any other person or to

the community, as provided in 18 U.S.C. § 3142(g);” and (iii) “the

reduction is consistent with this policy statement.” USSG § 1B1.13. 1

         The policy statement includes an application note that specifies

    the types of medical conditions that qualify as “extraordinary and

    compelling reasons.” First, that standard is met if the defendant is


1The policy statement refers only to motions filed by the BOP Director.
That is because the policy statement was last amended on November 1,
2018, and until the enactment of the First Step Act on December 21,
2018, defendants were not entitled to file motions under § 3582(c). See
First Step Act of 2018, Pub. L. No. 115-391, § 603(b), 132 Stat. 5194,
5239; cf. 18 U.S.C. § 3582(c) (2012). In light of the statutory command
that any sentence reduction be “consistent with applicable policy
statements issued by the Sentencing Commission,” § 3582(c)(1)(A)(ii),
and the lack of any plausible reason to treat motions filed by defendants
differently from motions filed by BOP, the policy statement applies to
motions filed by defendants as well.

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“suffering from a terminal illness,” such as “metastatic solid-tumor

cancer, amyotrophic lateral sclerosis (ALS), end-stage organ disease,

[or] advanced dementia.” USSG § 1B1.13, cmt. n.1(A)(i). Second, the

standard is met if the defendant is:

               (I) suffering from a serious physical or
               medical condition,
               (II) suffering from a serious functional or
               cognitive impairment, or
               (III) experiencing deteriorating physical or
               mental health because of the aging process,
               that substantially diminishes the ability of the
               defendant to provide self-care within the
               environment of a correctional facility and from
               which he or she is not expected to recover.

USSG § 1B1.13, cmt. n.1(A)(ii). The application note also sets out other

conditions and characteristics that qualify as “extraordinary and

compelling reasons” related to the defendant’s age and family

circumstances. USSG § 1B1.13, cmt. n.1(B)-(C). Finally, the note

recognizes the possibility that BOP could identify other grounds that

amount to “extraordinary and compelling reasons.” USSG § 1B1.13,

cmt. n.1(D).

                                  Argument

     This Court should deny Nolden’s motion for a reduction in his

sentence because he has failed to establish “extraordinary and


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compelling reasons” supporting his request and he has not

demonstrated a reduction is warranted in light of the relevant § 3553(a)

factors.

      A.   Nolden Has Not Identified “Extraordinary and Compelling
           Reasons” for a Sentence Reduction.

      First, Nolden’s request for a sentence reduction should be denied

because he has not demonstrated “extraordinary and compelling

reasons” warranting release. As the Third Circuit has held, “the mere

existence of COVID-19 in society and the possibility that it may spread

to a particular prison alone cannot independently justify compassionate

release.” United States v. Raia, 954 F.3d 594, 597 (3d Cir. 2020);; see

also United States v. Eberhart, 2020 WL 1450745, at *2 (N.D. Cal. Mar.

25, 2020) (“a reduction of sentence due solely to concerns about the

spread of COVID-19 is not consistent with the applicable policy

statement of the Sentencing Commission as required by




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§3582(c)(1)(A).”). 2 To now classify COVID-19 as an extraordinary and

compelling reason would not only be inconsistent with the text of the

statute and the policy statement, but also would be detrimental to

BOP’s organized and comprehensive anti-COVID-19 regimens, could

result in the scattershot treatment of inmates, and would undercut the

strict criteria BOP employs to determine individual inmates’ eligibility

for sentence reductions and home confinement. Section 3582(c)(1)(A)

contemplates sentence reductions for specific individuals, not the

widespread prophylactic release of inmates and the modification of

lawfully imposed sentences to deal with a pandemic that is clearly on

the downswing.


2   See also, e.g., United States v. Coles, 2020 WL 1899562 (E.D. Mich.
Apr. 17, 2020) (denied for 28-year-old inmate at institution with
outbreak); United States v. Okpala, 2020 WL 1864889 (E.D.N.Y. Apr.
14, 2020); United States v. Weeks, 2020 WL 1862634 (S.D.N.Y. Apr. 14,
2020); United States v. Haney, 2020 WL 1821988 (S.D.N.Y. Apr. 13,
2020) (denied for 61-year-old with no other conditions); United States v.
Pinto-Thomaz, 2020 WL 1845875 (S.D.N.Y. Apr. 13, 2020) (two insider
trading defendants with less than a year to serve have no risk factors);
United States v. Korn, 2020 WL 1808213, at *6 (W.D.N.Y. Apr. 9, 2020)
(“in this Court’s view, the mere possibility of contracting a
communicable disease such as COVID-19, without any showing that the
Bureau of Prisons will not or cannot guard against or treat such a
disease, does not constitute an extraordinary or compelling reason for a
sentence reduction under the statutory scheme.”); United States v.
Carver, 2020 WL 1892340 (E.D. Wash. Apr. 8, 2020).

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     Therefore, it becomes necessary to look at Nolden’s specific

medical conditions. The Government agrees that Nolden is being

treated for atrial fibrillation and concedes that he was sent to the

hospital on April 4, 2022, but notes that his medical records

demonstrate that both the prison and outside hospital ensured Nolden

received proper medical treatment and that he was returned to the

prison without incident. (Id., 9-16 and 90-100) Furthermore, this has

been an on-going medical condition and Nolden’s PSR specifically stated

that he was diagnosed with atrial fibrillation and a pulmonary node on

his left lung in August of 2020. (PSR ¶¶54 and 55) Hence, the Court

knew at sentencing of the defendant’s medical conditions.

     The Government admits that the CDC has determined that

individuals with certain heart conditions are more likely “to get very

sick from COVID-19.” https://www.cdc.gov/coronavirus/2019-ncov/need-

extra-precautions/people-with-medical-conditions.html However, those

dangers have been mitigated for Nolden as BOP has provided him with

two doses of the Moderna vaccine. (Exhibit 1, BOP Medical Records,

68) Given that Nolden’s medical conditions are being treated and the

risk of serious illness if he contracts COVID-19 has been mitigated by



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the fact he has been vaccinated, Nolden has failed to establish

“extraordinary and compelling reason” for a sentence reduction under §

3582(c). For this independent reason, the motion should be denied.

     B.    The § 3553(a) Factors Require Nolden’s continued
           incarceration.

     Furthermore, Nolden’s request for a sentence reduction should be

denied because he has failed to demonstrate that he merits release

under the § 3553(a) factors. Prior to granting a motion for

compassionate release, this Court must consider the 3553(a) factors,

just as it did when it sentenced the defendant. It should be noted, that

the Court conducted that analysis less than a year ago and nothing has

changed.

     With regard to the defendant’s offense conduct, on August 22 and

again on August 23, 2017, the defendant sold a bundle of heroin to a

cooperating source. At a minimum, the drugs sold on August 23, 2017

contained fentanyl in addition to heroin. (PSR ¶7.) On August 23, 2017,

officers executed a search warrant on the defendant’s residence and

discovered a bag containing 13.38 grams of a mixture containing heroin

and fentanyl, rubber bands, empty glassine bags, and a digital scale.

(PSR ¶8.) In the defendant’s vehicles, investigators found seven


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glassine bags containing an additional 1.31 grams of a mixture

containing both heroin and fentanyl, two Oxycontin pills, and a box of

empty glassine bags. (PSR ¶ 10.) Investigators also found an AR-15

rifle, a fully loaded 30 round magazine, 150 rounds of 5.56 ammunition,

and various rifle parts under the defendant’s bed. The rifle had been

modified to fire on fully automatic. (PSR ¶9.)

     There can be no question that this offense conduct is serious. The

defendant was responsible for 14 grams of a mixture containing heroin

and fentanyl, the equivalent of 560 individual doses, any one of which

could have easily resulted in a fatal overdose. Furthermore, he

possessed not only an assault rifle and a 30 round magazine, but the

rifle was modified to fire fully automatic. Individually, either one of

these charges would be serious, but combined, there can be no question

this was egregious offense conduct.

     Nolden also has a lengthy and violent criminal history, spanning

over 25 years, involving multiple firearms violations, and offenses

committed while on some form of supervision. That criminal history

began at only the age of 14, when he was observed by law enforcement

offices with a loaded .38 caliber revolver. (PSR ¶30.) Then, at the age of



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15, he and two other minors assaulted an individual by throwing pieces

of bricks and asphalt at the victim. (PSR ¶31.) In 1999, at the age of 19,

he suffered his first adult conviction after being found in possession of

crack cocaine. (PSR ¶32.)

     In 2000, Nolden was convicted of possession with the intent to

deliver crack cocaine, which resulted in a sentence of 1 to 2 years in

prison. (PSR ¶33.) Then while on bail for that charge, the defendant

was the driver in a drive-by shooting which resulted in a death. As a

result, the defendant pled guilty to conspiracy to commit third degree

murder and was sentenced to 5-10 years. (PSR ¶34.)

     Undeterred by his previous convictions and sentences, Nolden was

then convicted in this very Court for being a felon in possession of a

firearm in 2009. That resulted in a sentence of 77 months in prison and

while still on supervised release, the defendant committed the instant

offenses. (PSR ¶35.) This history clearly demonstrates that the

defendant is incorrigible, unwilling to adhere to the provisions of

supervision, and a continuing danger to others.

     Further, in entering into this plea agreement, the defendant

avoided a conviction for possession of a machine gun in furtherance of



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drug trafficking, which would have carried a mandatory minimum term

of imprisonment of 30 years in accordance with 18 U.S.C.

§924(c)1(B)(ii). As a result of the Government dismissing that charge,

the parties entered into an agreement in which the defendant would be

sentenced to 14 years imprisonment. That agreement was approved by

the Court, less than a year ago and, by virtue of the PSR, the Court was

aware of Nolden’s medical conditions. Nothing has changed that would

justify the sentence being changed at this time. Therefore, Nolden’s

motion should be denied.

                               Conclusion

     For these reasons, this Court should deny Nolden’s motion for a

sentence reduction on the merits.

                                    Respectfully submitted,


                                    JOHN C. GURGANUS
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                     CERTIFICATE OF SERVICE

     I certify that on May 18, 2022, I caused a copy of the within brief

to be served upon the defendant by first-class mail to the following

address:

Charles Eugene Nolden – 16326-067
FCI Allenwood Medium
Federal Correctional Institution
P.O. Box 2000
White Deer, PA 17887

                                        /s/ Scott R. Ford
                                        SCOTT R. FORD
                                        Assistant U.S. Attorney




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